        Case 4:22-cv-01587-JSW Document 93 Filed 07/17/23 Page 1 of 3




     Russell Davis (SBN 177959)
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                           IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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      SELINA KEENE, MELODY FOUNTILA, MARK ) Case No.: 4:22-cv-01587-JSW
11    MCCLURE,                                          )
                                                        ) DECLARATION OF RUSSELL DAVIS
12          Plaintiffs,                                 ) IN REPLY TO DEFENDANT’S
                                                        ) OPPOSITION TO PLAINTIFFS’
13   v.                                                 ) ADMINISTRATIVE MOTION TO
14                                                      ) ALLOW EXPEDITED DISCOVERY
     CITY AND COUNTY OF SAN FRANCISCO;                  ) L.R. 6-3, 7-11
15   LONDON BREED, Mayor of San Francisco in her )
     official capacity; CAROL ISEN Human Resources )
16   Director, City and County of San Francisco, in her ) Judge: The Honorable Jeffrey S. White
     official capacity; DOES 1-100,                     )
17
                                                        ) Complaint filed: March 14, 2022
18         Defendants.                                  ) Trial Date: None set
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27   _________________________________________________________________________________________________________
                     RUSSELL DAVIS DECLARATION IN REPLY TO DEFENDANT’S OPPOSITION TO
                                ADMINISTRATIVE MOTION TO EXPEDITE DISCOVERY
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        Case 4:22-cv-01587-JSW Document 93 Filed 07/17/23 Page 2 of 3




 1           1. I, Russell Davis, am the attorney of record for the Plaintiffs herein. I have personal
 2   knowledge of the facts in this declaration, and if called to testify about them, I would and could
 3   do so competently.
 4           2. Defendant has misrepresented the scope of the requested relief in Plaintiffs’
 5   Administrative Motion. Quoting directly:
 6           Those depositions would be that of Defendant’s Persons Most Knowledgeable
             (hereinafter PMKs) regarding imposition of the vaccine mandate, the scientific
 7           underpinnings of the mandate, the documents relied on when imposing the
             mandate, the administration of the mandate, the accommodations that were
 8
             granted and those that were not and the reasons why, and the basis for the
 9           religious tests administered to the Plaintiffs, amongst other items to be
             determined. The deposition order is to include material witnesses subpoenaed by
10           the Plaintiffs.
11   By claiming the Plaintiffs are overreaching, the Defendant would like this Court to ignore the

12   fact that the requested discovery is on point with issues raised by the Preliminary Injunction

13   Motion, i.e., “the accommodations that were granted and those that were not and the reasons

14   why, and the basis for the religious tests administered to the Plaintiffs . . .” The failure of the

15   Defendant to reasonably accommodate the Plaintiffs and its religious test designed to dispute the

16   Plaintiffs’ sincerity is directly on point with issues raised by the PI Motion. Further, if the

17   vaccine mandate had no legitimate reason for existing in the first place, the whole issue of a PI

18   would be moot.

19           3. The subpoenas that I discussed with opposing counsel are not at issue in the

20   Administrative Motion for a simple reason—when and if they are issued, opposing counsel will

21   have more than adequate time to move to quash them. By bringing the subject up now, the

22   Defendant is attempting to unduly influence the Court’s decisions. Opposing counsel’s remark that

23   Plaintiffs have an animus for the Mayor is not only wrong but was purposely designed to poison the

24   well with this Court. On the merits, an apex witness can be deposed if there is no disruption to the

25   orderly running of her administration or business. Plaintiffs merely pointed that out, with authority

26   to back it up. The examples given to Defendant’s counsel proved that the Mayor has time for a

27   deposition. In short, there was no animus.
     _________________________________________________________________________________________________________
                      RUSSELL DAVIS DECLARATION IN REPLY TO DEFENDANT’S OPPOSITION TO
                               ADMINISTRATIVE MOTION TO EXPEDITE DISCOVERY
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         Case 4:22-cv-01587-JSW Document 93 Filed 07/17/23 Page 3 of 3




 1           4. If the Court believes the Plaintiffs’ Administrative Motion is overbroad, then the solution
 2   is to narrow their depositions to questions that concern failure to accommodate, sincerity of the
 3   Plaintiffs’ beliefs, and their argument that loss of their careers constituted irreparable harm. PMKs
 4   were mentioned in their brief because other than CCSF, there are no named Defendants.
 5           I declare under penalty of perjury under the laws of the state of California that the foregoing
 6   is true and correct.
 7           Executed this 17th day of July 2023 in San Francisco, California.
 8                                                            /s/ Russell Davis
 9                                                            Russell Davis
                                                              PACIFIC JUSTICE INSTITUTE
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                                                              Attorney for Plaintiffs
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27   _________________________________________________________________________________________________________
                     RUSSELL DAVIS DECLARATION IN REPLY TO DEFENDANT’S OPPOSITION TO
                                ADMINISTRATIVE MOTION TO EXPEDITE DISCOVERY
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